                Case 09-10138-MFW          Doc 5809-1      Filed 06/27/11     Page 1 of 1




                                    CERTIFICATE OF SERVICE


            I, Alisa T. Gazze, certify that I am not less than 18 years of age, and that service of the

foregoing Notice of Rescheduled Hearing Date from June 30, 2011 at 9:30 a.m. (ET) to July

11, 2011 at 9:30 a.m. (ET) was caused to be made on June 27, 2011, in the manner indicated

upon the entities identified on the attached service list.



Date: June 27, 2011                                             /s/ Alissa T. Gazze
                                                         Alissa T. Gazze (No. 5338)




4197702.3
